        Case 1:23-cv-00853-DAE Document 124-1 Filed 06/21/24 Page 1 of 1




                                   United States District Court
                                    Western District of Texas
                                        Austin Division


 United States of America,
   Plaintiff,
        v.
 Greg Abbott, in his capacity as Governor                   No. 1:23-cv-00853-DAE
 of the State of Texas, and the State of
 Texas,
   Defendants.

     [Proposed] Order Granting Motion for Leave to Take
        Depositions on Oral Questions in Excess of Ten


       Before the Court is Defendants’ Opposed Motion for Leave to Take Depositions on Oral

Questions in Excess of Ten. After considering the motion, record, and relevant authorities, the

Court hereby GRANTS the motion and allows Defendants to take depositions in excess of the 10

permitted by Fed. R. Civ. P. 30.


       SIGNED on this the ________ day of _________________, 2024.



                                             __________________________________
                                             Hon. Dustin M. Howell
                                             United States District Judge
